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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                   Plaintiff,
                                             15 Civ. 7433 (LAP)
-against-
                                                AMENDED ORDER
GHISLAINE MAXWELL,

                   Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

    The Court is in receipt of the letter dated November 12,

2021 on behalf of non-party Doe, seeking clarification of this

Court’s November 5, 2021 order.        The November 5, 2021 order is

amended and superseded as set forth below.

    The parties shall first file briefs addressing the

objections of the following non-parties: Does 17, 53, 54, 55,

56, 73, 93, and 151.

    The briefing schedule shall be as follows:

      •   The parties shall submit their opening briefs no later
          than two weeks after the conclusion of Ms. Maxwell’s
          criminal trial, assuming the trial proceeds as
          presently scheduled.

      •   The Herald may file a responsive brief no later than
          two weeks after the parties file their opening briefs.
          The Herald shall inform the Court whether it requires
          further information about the objections beyond what is
          described in the redacted, publicly-filed versions of
          the parties’ briefs.

      •   Objecting non-party Does may file a reply in response
          to the parties’ opening briefs and the Herald’s

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             responsive brief no later than one week after the
             Herald files its brief.

         •   The parties shall file any reply briefs no later than
             two weeks after the objecting non-party Does file their
             reply brief.

    With respect to Doe’s counsel’s request that the parties

make their briefs available to him contemporaneously with

filing, to the extent that counsel has not entered an appearance

in the case on ECF and wishes to do so in order to receive

timely notices of filings, counsel may enter an appearance on

behalf of objector Doe.     The Clerk of the Court is directed to

ensure that notice to objectors’ counsel on ECF is equivalent to

notice to the parties’ counsel.

SO ORDERED.

Dated:       New York, New York
             November 15, 2021

                            __________________________________
                            LORETTA A. PRESKA
                            Senior United States District Judge




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